                                1:20-cv-01264-MMM-JEH # 67 Page 1 of 1
    Case: 22-8010                Document: 00714059425     Filed: 08/30/2022       Pages:
                                                                                                  E-FILED
                                                                                            1 02:28:16 PM
                                                                   Tuesday, 30 August,   2022
                                                                            Clerk, U.S. District Court, ILCD

    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                   Office of the Clerk
        United States Courthouse
                                                                                  Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                  www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                         ORDER
August 30, 2022

                                                         Before
                                             DIANE S. SYKES, Chief Judge
                                             DAVID F. HAMILTON, Circuit Judge
                                             THOMAS L. KIRSCH II, Circuit Judge

                                     IN RE:
No. 22-8010                            BRADLEY UNIVERSITY,
                                            Petitioner
Originating Case Information:
District Court No: 1:20-cv-01264-MMM-JEH
Central District of Illinois
District Judge Michael M. Mihm


         The following are before the court:

         1.         PETITION FOR PERMISSION TO APPEAL PURSUANT TO FEDERAL RULE
                    OF CIVIL PROCEDURE 23(f), filed on August 5, 2022, by counsel for the
                    petitioner.

         2.         PLAINTIFF-RESPONDENT’S ANSWER IN OPPOSITION TO PETITION
                    FOR PERMISSION TO APPEAL PURSUANT TO FEDERAL RULE OF CIVIL
                    PROCEDURE 23(f), filed on August 15, 2022, by counsel for the respondent.

        IT IS ORDERED that the petition for permission to appeal is GRANTED. Petitioner
shall pay the required docket fees to the clerk of the district court within 14 days from the entry
of this order pursuant to Federal Rule of Appellate Procedure 5(d)(1). Once the district court
notifies this court that the fees have been paid, the appeal will be entered on this court’s general
docket.

form name: c7_Order_3J      (form ID: 177)
